      Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 1 of 21
                                                                                                     United States District Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                 UNITED STATES DISTRICT COURT                                              July 21, 2022
                                  SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

CHLOE BAKER,                                               §
    Plaintiff,                                             §
                                                           §
v.                                                         §   CIVIL ACTION NO. 4:20-CV-03870
                                                           §
LONE STAR LEGAL,                                           §
AID,                                                       §
     Defendant.                                            §


                                       MEMORANDUM AND ORDER

          Pending before the Court is Defendant’s Motion for Summary Judgment. 1 ECF No. 68.

Baker filed an untimely response. ECF No. 88. Lone Star filed a reply (ECF No. 90) and Baker

filed a surreply (ECF No. 91). Having considered the Motion, Reply, and the applicable law, the

Motion is GRANTED.

     I.       Background

          The statements in this section are undisputed for purposes of summary judgment unless

otherwise noted.

          Baker’s employment with Lone Star Legal Aid

          Defendant Lone Star Legal Aid (“Lone Star”) is a non-profit organization that provides

legal services and representation to low-income individuals in Texas and Arkansas. ECF No. 68-

1 at 4 ¶ 1. Lone Star operates, in part, by using short-term grants for projects and regularly employs

individuals on a temporary basis pursuant to temporary worker agreements. Id. at 5 ¶ 4. In 2017,

Lone Star’s Military Veterans Unit (“MVU”) received a short-term grant from the Texas Veterans

Commission Project (“TVCP”), which allowed Lone Star to hire several temporary employees to


1
  The parties consented to proceed before a United States Magistrate Judge for all purposes, including final
judgment. ECF No. 70.

                                                          1
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 2 of 21




work within the unit through June 2018. Id. at 5 ¶ 6. On April 2, 2018 and pursuant to a temporary

worker agreement, Lone Star hired Plaintiff Chloe Baker (“Baker”) to work as a paralegal within

the MVU. Id. at 6 ¶ 7.     Baker disputes that she was a temporary employee, but failed to attach

the exhibit she cites as evidence that she was a permanent employee. In fact, Baker failed to file

all but one exhibit she cites to in support of her Response.

       On June 30, 2018, the TVCP grant expired but Lone Star expected to continue funding

temporary employment using a Victims of Crime Act (“VOCA”) grant. Id. at 6 ¶ 8. Due to

funding available under the VOCA grant, Lone Star was able to renew the employment of Baker

and one other temporary employee for two additional three-month periods, extending their

temporary employment until December 31, 2018. Id. In order to avoid terminating the temporary

employees during the holidays, Lone Star notified Baker (and the other temporary employee) on

December 21, 2018 that it would extend their employment for an additional thirty days and would

terminate their temporary employment on January 31, 2019. Id. at 6-7 ¶ 9; id. at 52, Ex. 7.

       Baker signed a temporary worker agreement on December 26, 2018, agreeing to the final

extension through January 31, 2019. Id. at 54-55. Two days later, on December 28, 2018, Baker

made an oral complaint of workplace harassment and then submitted a written complaint on

January 3, 2019. Id. at 17:18-23; 57-58. Baker argues that she “began participating in protected

activity as early as October 2018” but again, failed to file the exhibit she cites as evidence of prior

protected activity. Lone Star terminated the employment of Baker and the other temporary

employee on January 31, 2019. Id. at 74.




                                                  2
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 3 of 21




       Baker’s EEOC filings and federal court suit

       Baker filed an unverified EEOC inquiry on February 21, 2019 (the “2019 Inquiry”), which

was assigned Inquiry number 460-2019-02226. ECF No. 68-1 at 76-78. The 2019 Inquiry

identified Lone Star as her employer and complained of race and national origin discrimination

and retaliation. Id. at 76-77. Baker denied having a disability in the 2019 Inquiry. Id. at 78.

According to EEOC records, the 2019 Inquiry was closed on March 19, 2019. Id. at 83.

       On May 5, 2020, Baker filed a new portal inquiry with the EEOC alleging race, national

origin, and disability discrimination and retaliation (the “2020 Inquiry”). Id. at 87-89. In the 2020

Inquiry, Baker identifies herself as having a disability. Id. at 89. The 2020 Inquiry denies that the

“claim [had been] previously filed as a charge with the EEOC” and was assigned “EEOC (Inquiry)

number: 460-2020-03799.” Id. at 87. On May 20, 2020, Baker filed a signed and verified EEOC

charge alleging race and disability discrimination and retaliation (the “2020 Charge”). Id. at 91-

92. On August 19, 2020, the EEOC issued its Dismissal and Notice of Rights letter informing

Baker that her 2020 charge was not timely filed with the EEOC. Id. at 94-97. On September 23,

2020, the EEOC sent Baker a letter describing a meeting that took place on March 13, 2019, during

which Baker was advised by an EEOC investigator of her right to file a charge. Id. at 85. The

letter states that although Baker disagreed with the investigator’s notes, Baker did not to file a

charge within the 300-day period. Id.

       On November 13, 2020, Baker filed suit in federal court against Lone Star. ECF No. 1.

Having twice amended her complaint, Baker’s suit alleges discrimination and retaliation in

violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq. and the American

Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ECF No. 17.




                                                 3
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 4 of 21




          Lone Star’s Motion for Summary Judgment

          Lone Star moves for summary judgment on all of Baker’s claims, arguing that Baker failed

to exhaust her administrative remedies because she did not file a timely administrative charge of

discrimination or retaliation. Lone Star argues in the alternative that even if Baker had exhausted

her administrative remedies, her claims cannot survive summary judgment for at least the

following reasons: (1) she cannot show Lone Star knew of her alleged disability as required for

her disability discrimination and failure to accommodate claims; (2) she has not alleged a hostile

work environment that was severe and pervasive; (3) she has not presented a prima facie case of

Title VII race discrimination; and (4) she cannot show a causal connection between her protected

activity and her termination.

    II.       Motion for Reconsideration and Motion to Strike

          Before turning to Lone Star’s Motion for Summary Judgment, the Court addresses Lone

Star’s Motion for Reconsideration (ECF No. 79) and Lone Star’s Motion to Strike (ECF No. 92).

          Lone Star filed a Motion for Reconsideration of the Court’s order granting Baker’s

Motion for Extension to file her response to Lone Star’s Motion for Summary Judgment. ECF

No. 79. Under Federal Rule of Civil Procedure 6(b)(1)(B), the Court may grant a post-deadline

motion for an extension if it finds “good cause” and that “the party failed to act because of

excusable neglect.” FED. R. CIV. P. 6(b)(1)(B). This determination is “an equitable one, taking

account of all relevant circumstances surrounding the party’s omission.” Pioneer Inv. Servs. Co.

v. Brunswick Assocs. Ltd., 507 U.S. 380, 395 (1993). These relevant factors include (1) “the

danger of prejudice [to the non-movant], (2) “the length of the delay and its potential impact on

the judicial proceedings,” (3) “the reason for the delay, including whether it was within the

reasonable control of the movant,” and (4) “whether the movant acted in good faith.” Stotter v.



                                                  4
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 5 of 21




Univ. of Tex. at San Antonio, 508 F.3d 812, 820 (5th Cir. 2007) (quoting Pioneer, 507 U.S. at

395). Applying the Pioneer factors, the Court finds that although the error by Baker’s former

attorney in failing to file a timely response was careless, Lone Star is not prejudiced by the late

filing of response by Baker who is now pro se, the judicial proceedings have not been impacted

as the trial date remains the same, and Baker did not act in bad faith. Thus, the totality of the

circumstances weighs in favor of finding that the failure to file a timely response was excusable

neglect. The Motion for Reconsideration (ECF No. 79) is DENIED.

       Lone Star also moves to strike Baker’s surreply. ECF No. 92. “Surreplies are highly

disfavored because they usually are a strategic effort by the non-movant to have the last word on

a matter.” Reyes v. ExxonMobil Pipeline Co., No. H-19-2569, 2021 WL 3711175, at *2 (S.D.

Tex. Aug. 20, 2021) (internal quotation omitted). “A party must therefore file a motion for leave

before filing a surreply.” Bayway Lincoln Mercury, Inc. v. Universal Underwriters Ins. Co., No.

CV H-19-3817, 2020 WL 8093495, at *1 (S.D. Tex. Dec. 4, 2020). “Leave to file a surreply is

not appropriate where the proposed surreply does not include new arguments or evidence or

merely restates arguments in the movant’s response.” Woolard v. Fluor Enters., Inc., No. 4:10-

cv-3623, 2013 WL 596581, at *4 (S.D. Tex. Feb. 15, 2013) Here, Baker did not seek leave to

file her surreply before doing so. Further, Baker’s surreply reiterates arguments made in her

response and references documents that she failed to attach to the response. Baker’s attachment

to her surreply of the exhibits she failed to attach to her late-filed response does not provide a

basis for granting leave to file a surreply. See Bayway Lincoln Mercury, Inc. v. Universal

Underwriters Ins. Co., 2020 WL 8093495, at *2 (rejecting as “not appropriate” a surreply that

attached documents party failed to attach to the response to motion for summary judgment).




                                                  5
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 6 of 21




Accordingly, the Court finds that Baker’s surreply is not appropriate and the Motion to Strike

(ECF No. 92) is GRANTED.

    III.    Summary Judgment Standard

       Summary judgment is appropriate if no genuine issues of material fact exist, and the

moving party is entitled to judgment as a matter of law. FED. R. CIV. P. 56(a). The party moving

for summary judgment has the initial burden to prove there are no genuine issues of material fact

for trial. Provident Life & Accident Ins. Co. v. Goel, 274 F.3d 984, 991 (5th Cir. 2001). Dispute

about a material fact is “genuine” if the evidence could lead a reasonable jury to find for the

nonmoving party. Hyatt v. Thomas, 843 F.3d 172, 177 (5th Cir. 2016). “An issue is material if its

resolution could affect the outcome of the action.” Terrebonne Parish Sch. Bd. v. Columbia Gulf

Transmission Co., 290 F.3d 303, 310 (5th Cir. 2002). If the moving party meets its initial burden,

the nonmoving party must go beyond the pleadings and must present evidence such as affidavits,

depositions, answers to interrogatories, and admissions on file to show “specific facts showing that

there is a genuine issue for trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). The Court

construes the evidence in the light most favorable to the nonmoving party and draws all reasonable

inferences in that party’s favor. R.L. Inv. Prop., LLC v. Hamm, 715 F.3d 145, 149 (5th Cir. 2013).

       In ruling on a motion for summary judgment the Court does not “weigh evidence, assess

credibility, or determine the most reasonable inference to be drawn from the evidence.” Honore

v. Douglas, 833 F.2d 565, 567 (5th Cir. 1987). However, “[c]onclu[sory] allegations and denials,

speculation, improbable inferences, unsubstantiated assertions, and legalistic argumentation do not

adequately substitute for specific facts showing a genuine issue for trial.” U.S. ex rel. Farmer v.

City of Houston, 523 F.3d 333, 337 (5th Cir. 2008) (citation omitted).




                                                 6
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 7 of 21




    IV.     Analysis

           A. Baker failed to exhaust administrative remedies by not filing a timely EEOC
              charge.

       Lone Star contends it is entitled to summary judgment on all of Baker’s claims because

Baker failed to exhaust administrative remedies by not filing a timely charge. Administrative

exhaustion exists “to facilitate the [EEOC’s] investigation and conciliatory functions and to

recognize its role as primary enforcer of anti-discrimination laws.” Ernst v. Methodist Hosp. Sys.,

1 F.4th 333, 337 (5th Cir. 2021) (quoting Filer v. Donley, 690 F.3d 643, 647 (5th Cir. 2012)).

While the exhaustion requirement is not jurisdictional, the filing of an EEOC charge “is a

precondition to filing in district court.” Taylor v. Books A Million, 296 F.3d 376, 378-79 (5th Cir.

2002) (quotation omitted). A “‘[f]ailure to exhaust is an affirmative defense that should be

pleaded.’” Matson v. Sanderson Farms, Inc., 388 F. Supp. 3d 854, 877 (S.D. Tex. 2019) (quoting

Davis v. Fort Bend Cty., 893 F.3d 300, 307 (5th Cir. 2018)). Thus, to prevail on summary

judgment, Lone Star bears the burden of proving the absence of a genuine issue of material fact

with respect to Baker’s failure to exhaust administrative remedies.

       Both Title VII and the ADA require a plaintiff to exhaust administrative remedies before

commencing an action in federal court against her employer. Jennings v. Towers Watson, 11 F.

4th 335, 342 (5th Cir. 2021). To satisfy the exhaustion requirement, a plaintiff must file a charge

with the EEOC within 180 days of a discrete alleged discriminatory act, or within 300 days in a

“deferral state.” Carter v. Target Corp., 541 F. App’x 413, 419 (5th Cir. 2013); see 42 U.S.C. §

1217 (incorporating 42 U.S.C. § 2000e-5(e)(1)). Texas is a deferral state, meaning it has a state

agency to resolve civil rights complaints, and therefore Baker was required to file her EEOC charge

regarding her Title VII and ADA claims within 300 days of her termination. Blasingame v. Eli

Lily & Co., No. H-11-4522, 2013 WL 5707324, at *4 (S.D. Tex. Oct. 18, 2013); Anderson v.

                                                 7
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 8 of 21




Venture Express, 694 F. App’x 243, 247 (5th Cir. 2017) (affirming dismissal of claim for failing

to exhaust administrative remedies). Baker’s employment with Lone Star terminated on January

31, 2019. Therefore, she had until November 27, 2019, at the latest, to file an EEOC charge

complaining of discrimination or retaliation under Title VII or the ADA.

                   1. Baker’s 2020 EEOC Charge was not timely filed.

       Baker filed a verified EEOC Charge on May 20, 2020, well beyond the 300-day period to

file a charge complaining of discriminatory conduct. ECF No. 68-1 at 91-92. As such, the 2020

EEOC charge was not timely filed and can only be considered an “amended charge” if it relates

back to amend a timely filed charge. See Manning v. Chevron Chem. Co., LLC, 332 F.3d 874, 878

(5th Cir. 2003) (cleaned up) (explaining that EEOC regulations allow a claimant to “relate back”

an untimely charge to a timely filed charge of discrimination “[i]f the amendments involve acts

that relate to or grow out of the subject matter of the original charge”).

                   2. Although timely-filed, Baker’s 2019 Inquiry is not a “charge.”

       The uncontroverted summary judgment evidence demonstrates that the only pre-November

27, 2019 EEOC filing Baker made is the 2019 Inquiry she submitted on February 21, 2019. ECF

No. 68-1 at 76-78. Lone Star contends the 2019 Inquiry does not constitute a “charge” for purposes

of the administrative exhaustion requirements under Title VII and the ADA because it was not

verified and cannot be construed as a request for the EEOC to take remedial action.

       In Federal Express Corp. v. Holowecki, 552 U.S. 389 (2008) the Supreme Court addressed

whether an EEOC intake questionnaire form (not a portal inquiry) can qualify as a “charge” that

exhausts administrative remedies. The Supreme Court held that an intake questionnaire may

qualify as a charge for purposes of exhaustion if it both 1) satisfies the EEOC’s charge-filing

requirements and 2) can “be reasonably construed as a request for the agency to take remedial



                                                  8
     Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 9 of 21




action to protect the employee’s rights or otherwise settle a dispute between the employer and the

employee.” Holowecki, 552 U.S. at 402. This test applies to both Title VII and ADA claims.

EEOC v. Vantage Energy Servs., Inc., 954 F.3d 749, 754 (5th Cir. 2020).

       Although Holowecki involved an intake questionnaire rather than a portal inquiry, the

Court looks to Holowecki to determine whether the 2019 Inquiry may be considered a “charge”

since a portal inquiry serves a similar function as an intake questionnaire: both ask the claimant

to provide facts concerning the alleged discrimination. See https://publicportal.eeoc.gov (“An

inquiry is typically your first contact with the EEOC regarding your concerns about potential

employment discrimination, which is followed by an interview with EEOC staff. Submitting an

inquiry is the first step to determine whether you want to proceed with filing a formal charge of

discrimination.”); Martinez v. Prairie Fire Dev. Grp., LLC, No. 19-cv-2143, 2019 WL 3412264,

at *4 n.1 (D. Kan. July 29, 2019) (“[T]he court sees no reason why an online inquiry should be

treated differently from an intake questionnaire or any other document short of a formal charge.”).

       Applying Holowecki, the 2019 Inquiry cannot be considered a charge for exhaustion

purposes because it neither satisfies the EEOC’s charge-filing requirements, nor can it be

reasonably construed as a request for the agency to take remedial action.

                      i.     The 2019 Inquiry fails to meet the first prong of Holowecki
                             because it is not signed or verified.

       The 2019 Inquiry was not signed or verified by Baker. ECF No. 68-1 at 76-78. Therefore,

the 2019 Inquiry does not meet the EEOC charge-filing requirements. Patton v. Jacobs Eng’g

Grp., Inc., 874 F.3d 437, 443 (5th Cir. 2017). However, the lack of signature and verification are

defects that may be cured outside the 300-day filing period. Edelman v. Lynchburg Coll,, 535 U.S.

106, 115-19 (2002); 29 C.F.R. § 1601.12(b) (“A charge may be amended to cure technical defects

or omissions, including failure to verify the charge, or to clarify and amplify allegations made

                                                9
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 10 of 21




therein.”). Therefore, even after the 300-day filing period expired, Baker could have cured the

technical defects in the 2019 Inquiry by filing a signed, verified charge that related back to amend

the 2019 Inquiry. See Vantage Energy Servs., 954 F.3d at 756 (explaining that the certification of

an intake questionnaire that otherwise qualifies as a charge can occur outside the filing period).

Thus, Baker could overcome this technical defect by showing that her verified 2020 EEOC charge

relates back to amend the 2019 Inquiry. As explained next, Baker cannot make this showing.

       It is undisputed that Baker filed a signed, verified EEOC charge on May 20, 2020, but by

the time she filed the 2020 Inquiry and the 2020 EEOC charge, her 2019 Inquiry had been closed.

ECF No. 68-1 at 83. The Fifth Circuit has not answered whether an untimely verified EEOC

charge can relate back to cure a timely unverified filing after the EEOC’s investigation of the

unverified filling has been closed. However, at least the Fourth and Tenth Circuits have held that

an EEOC charge cannot relate back to amend an unverified charge where the EEOC has closed its

case on the original charge. See Balazs v. Liebenthal, 32 F.3d 151, 157 (4th Cir. 1994) (“a

reasonable construction of the EEOC's regulation would simply allow charges to be verified and

to relate back only so long as the charge is a viable one in the EEOC's files, but that where, as here,

a right to sue letter has issued, a suit has been instituted and the EEOC has closed its file, there is

no longer a charge pending before the EEOC which is capable of being amended.”); Glapion-

Pressley v. City & Cty. of Denver, No. 21-1223, 2022 WL 1112965, at *4 (10th Cir. Apr. 14, 2022)

(“because the EEOC had long since issued her right-to-sue letter and closed the case, [plaintiff’s]

belated attempt to cure the verification defect was too late”).

       Lone Star’s summary judgment evidence shows the EEOC had closed its file on the 2019

Inquiry before Baker filed the 2020 EEOC charge, so there was no longer any viable charge or

inquiry capable of being amended. Indeed, Baker has neither controverted Lone Star’s summary



                                                  10
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 11 of 21




judgment evidence nor presented any case law from which the Court could conclude that a verified

EEOC charge can relate back to amend a timely-filed inquiry that was closed by the EEOC before

the verified charge was filed. The Court concludes that the untimely-filed 2020 EEOC charge

cannot relate back to amend the timely-filed, unverified 2019 Inquiry because the 2019 Inquiry

was closed before Baker filed the verified 2020 charge. Therefore, the unverified 2019 Inquiry

fails to satisfy the first required prong of Holowecki.

                       ii.     The 2019 Inquiry fails to satisfy the second prong of Holowecki
                               because it cannot be reasonably construed as a request for the
                               EEOC to take remedial action.

       A filing may be reasonably construed as a request for the agency to take remedial action to

protect the employee’s rights or otherwise settle a dispute between the employer and the employee

if “an objective observer would believe that the filing taken as a whole suggests that the filer

request[ed] the agency to activate its machinery and remedial processes.” Crevier-Gerukos v.

Eisai, Inc., No. H-11-0434, 2012 WL 681723, at *7 (S.D. Tex. Feb. 29, 2012) (quoting Williams

v. CSX Transp. Co., 643 F.3d 502, 508-09 (6th Cir. 2011)). Unlike the EEOC’s charge filing

requirements, there is no regulation permitting a party to “cure” this issue by amending the original

filing with an untimely filed charge.

         In Holowecki, the Supreme Court explained that an intake questionnaire, by itself, did not

constitute a “charge” because the statements in the questionnaire did not request agency action and

the wording of the questionnaire “suggest[ed] . . . that the form’s purpose [was] to facilitate ‘pre-

charge filing counseling’ and to enable the agency to determine whether it has jurisdiction over

potential charges.” Id. Rather, the Court’s finding in Holowecki was based on an affidavit that

accompanied the questionnaire and in which the plaintiff asked the EEOC to “force Federal

Express to end their age discrimination.” Id.



                                                 11
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 12 of 21




       The 2019 Inquiry cannot “be reasonably construed as a request for the agency to take

remedial action to protect the employee’s rights or otherwise settle a dispute between [Baker] and

[Lone Star].” Holowecki, 552 U.S. at 402. The 2019 Inquiry lacks any statement by which an

objective observer could find that Baker was requesting the agency to activate its machinery and

remedial processes. Courts analyzing EEOC intake questionnaires have found that a plaintiff

satisfies this requirement by checking a box with the language: “I want to file a charge of

discrimination, and I authorize the EEOC to look into the discrimination I described above.” See,

e.g., Stone v. Academy, Ltd., 156 F. Supp. 3d 840, 844-46 (S.D. Tex. 2016). The 2019 Inquiry

contains no such box, and “the questions asked in the inquiry do not seek that type of response.”

Martinez, 2019 WL 3412264, at *4. Therefore, courts analyzing whether an “inquiry” constitutes

a “charge” look to whether subsequent actions demonstrate an intent to file a charge. See, e.g.,

Anderson v. AHS Hillcrest Med. Ctr., LLC, No. 2021 WL 3519280, at *8 (N.D. Okla. Aug. 10,

2021) (“Plaintiff’s subsequent actions after filing her inquiry do not demonstrate that she desired

to start the EEOC administrative process.”); Muldrow v. South Carolina Dep’t of Corrs., C.A. No.

2:19-3498, 2020 WL 4588893, at *7 (D.S.C. Apr. 7, 2020) (finding it appropriate to consider other

evidence to determine if Plaintiff took steps to further action by the EEOC).

       Baker’s conduct after she filed the inquiry does not demonstrate an intent to start the EEOC

administrative process. The summary judgment evidence includes a letter dated September 23,

2020 sent by the EEOC to Baker, recounting that Baker met with an EEOC investigator on March

13, 2019 and had been advised at that time of her right to file a charge of discrimination. ECF No.

68-1 at 85. The letter states that Baker chose not to file a charge at that time, id., and the EEOC

records reflect that the 2019 Inquiry file was closed six days after Baker met with the EEOC

investigator. Id. at 83. Although the letter recognizes that Baker disputes the statements in the



                                                12
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 13 of 21




EEOC investigator’s notes that she was informed of her right to file a charge, Baker has presented

no other summary judgment evidence demonstrating her intent to file a charge of discrimination

before the 2019 Inquiry was closed by the EEOC. In fact, the record contains no evidence that

Baker intended or attempted to file a charge of discrimination until she filed a new inquiry on May

5, 2020. Id. at 87-89. Accordingly, the Court finds that the 2019 Inquiry cannot be reasonably

construed as a request for the agency to take remedial action to protect Baker’s rights or otherwise

settle a dispute between Lone Star and Baker and thus does not constitute a “charge” for purposes

of Title VII and ADA exhaustion requirements.

       In sum, having found that no genuine dispute of material facts exist as to whether Baker

filed a timely, verified charge, the Court concludes that Baker did not exhaust her administrative

remedies, and her claims are subject to dismissal on that basis alone.

           B. Even if the 2019 Inquiry were a viable charge, Lone Star is still entitled to
              summary judgment on all claims.

       Even apart from the issue of exhaustion, Lone Star is entitled to summary judgment on all

of Baker’s claims for the reasons that follow.

                   1. Baker’s disability discrimination and failure to accommodate claims
                      are untimely.

       It is undisputed that Baker’s disability discrimination and failure to accommodate claims

alleged in the 2020 Inquiry and 2020 Charge are untimely as they were filed more than 300 days

after the alleged conduct. EEOC regulations allow a plaintiff to amend her initial charge outside

of the 300-day window to bring such claims, “if the amendments relate back to the original charge”

and the facts supporting the amendments and the original charge are essentially the same.

Thibodeaux v. Texas Dep't of Criminal Justice, 660 F. App'x 286, 289 (5th Cir. 2016) (citing 42




                                                 13
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 14 of 21




U.S.C. § 2000e-5(e)(1)). However, Baker presents no argument or evidence that her disability

discrimination and failure to accommodate claims relate back to amend a timely filed charge.

       The 2019 Inquiry alleges race and national origin discrimination and retaliation. ECF No.

68-1 at 76. Nowhere in the 2019 Inquiry does Baker allege disability discrimination or a failure

to accommodate nor does she provide facts from which the Court could infer such claims. To the

contrary, in the 2019 Inquiry, Baker states “I do not have a disability.” Id. at 78. Because Baker

failed to allege any facts supporting disability discrimination or a failure to accommodate claim in

the 2019 Inquiry, she was foreclosed from amending the inquiry to include such claims outside of

the 300-day filing period. As such, Baker’s disability and failure to accommodate claims must be

dismissed as untimely. Books A Million, Inc., 296 F.3d at 379.

                   2. Baker has failed to present a prima facie hostile work environment
                      claim.

       To establish a hostile work environment claim under Title VII, a plaintiff must show (1)

she is a member of a protected group; (2) she was subjected to unwelcome harassment; (3) the

harassment complained of was based on her membership in a protected group; (4) the harassment

complained of affected a term, condition, or privilege of employment; and (5) the employer knew

or should have known of the harassment in question and failed to take prompt remedial action.

Williams-Boldware v. Denton Cty., 741 F.3d 635, 640 (5th Cir. 2014). “A defendant may avoid

Title VII liability when harassment occurred but the defendant took ‘prompt remedial action’ to

protect the claimant.” Id. (quoting Hockman v. Westward Comm’ns, LLC, 407 F.3d 217, 329 (5th

Cir. 2004)).

       Lone Star argues that Baker cannot establish a hostile work environment claim because the

racial harassment she identifies was not directed at her and thus could not affect a term, condition,

or privilege of employment.      Racial harassment affects a “term, condition, or privilege of

                                                 14
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 15 of 21




employment” if its “sufficiently severe or pervasive to alter the conditions of the victim’s

employment and create an abusive working environment.” Hernandez v. Yellow Transp., Inc., 670

F.3d 644, 651 (5th Cir. 2012). “To be actionable, the work environment must be ‘both objectively

and subjectively offensive, one that a reasonable person would find hostile or abusive, and one

that the victim in fact did perceive to be so.’” Id. (quoting Faragher v. City of Boca Raton, 524

U.S. 775, 787 (1998)). The Court must take into consideration all the circumstances including

“the frequency of the discriminatory conduct; its severity; whether it is physically threatening or

humiliating, or a mere offensive utterance; or and whether it unreasonably interferes with an

employee’s work performance. Id. (quoting Ramsey v. Henderson, 286 F.3d 264, 268 (5th Cir.

2002)).

          Baker’s hostile work environment claim alleges that her co-workers referred to her as

“girl,” “black girl,” and the “help.” However, the summary judgment evidence reveals that these

references were not made by Baker’s co-workers to Baker. Rather, these comments reflect the

statements of clients and intake applicants and were recorded as direct quotes in Baker’s co-

worker’s intake and appointment notes. For example, one intake note between Courtney Paulding,

a Lone Star paralegal, and an individual described as “C,” reads: “C stated that he was going back

to the VA to talk to ‘that attorney and her helper.’” ECF No. 68-1 at 60-61. When a supervisor

advised Paulding that that this language “should not be part of any applicants’ notes,” Paulding

acknowledged the poor choice of words but clarified: “I try to capture the conversations as the

applicant/client communicates.” Id. at 60. Baker has not presented any evidence that her co-

workers made statements to Baker using the terms “girl,” “black girl,” and the “help.” Nor has she

demonstrated that those references were used anywhere outside of the intake and appointment

notes which reflect comments of clients and applicants.



                                                15
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 16 of 21




       The Court assumes Baker perceived her co-workers’ documentation of client references to

her as “girl,” “black girl,” and the “helper” to be offensive, hostile and abusive. However, viewing

the evidence in the light most favorable to Baker, there is no evidence from which a reasonable

jury could conclude that these comments were “sufficiently severe or pervasive to alter the

conditions of [Baker’s] employment and create an abusive working environment.” Ramsey, 286

F.3d at 269 (internal quotations omitted). Baker has not shown the use of these terms on a frequent

basis sufficient to show harassment that was pervasive enough to support a hostile work

environment. See Faragher, 524 U.S. at 788 (“[O]ff hand comments, and isolated incidents

(unless extremely serious) will not amount to discriminatory changes in the terms and conditions

of employment.”); Frazier v. Sabine River Auth. La., 509 F. App’x 370, 372-74 (5th Cir. 2013)

(finding that a co-worker’s use of a racial slur and gesture of hanging a noose around another co-

worker’s neck were “isolated and not severe or pervasive enough to support a hostile work

environment claim.”). Furthermore, the allegedly offensive conduct itself does not meet the

standard for harassment sufficiently severe to alter a term or condition of Baker’s employment.

See Brooks v. Firestone Polymers, L.L.C., 640 F. App’x 393, 399 (5th Cir. 2016) (finding that

racial slurs and “black faces drawn in the bathroom stalls” were “reprehensive” but insufficient for

the hostile work environment claim to survive summary judgment); Baker v. FedEx Ground

Package Sys., Inc., 278 F. App’x 322, 329 (5th Cir. 2008) (supervisor’s comments to African-

American employee that “she did not want to work with people” like employee did not show a

race-based hostile work environment). Without additional conduct, the comments contained in

the client meeting and intake notes are, at most, offensive utterances that fail to support a prima

facie case of a hostile work environment.




                                                16
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 17 of 21




        Baker has also failed to present evidence showing that these remarks interfered with her

ability to work. Baker contends that stress from “being assigned 41 new work flows” caused her

to be placed in psychiatric bed rest. ECF No. 88 at 9. Baker has not put forth any evidence from

which a reasonable jury could find that her co-workers’ notes interfered with her ability to do her

job. Brooks, 640 F. App’x 393, 399 (5th Cir. 2016) (plaintiff failed to make a prima facie case of

hostile work environment where “offensive events, while reprehensible, establish[ed] only isolated

incidents and offhand remarks, did not involve physical threats, were not apparently directly

addressed to [plaintiff], and [did] not appear to have interfered with his work.”).

        Baker raises additional allegations to support her hostile work environment claim, alleging:

1) office members began to refer to her as “girl” or “gal”; 2) a co-worker refused a workflow from

Baker 3) an intake specialist told others in the office that Baker “kissed butt”; 4) an intake specialist

made false allegations that Baker left work; and 5) co-workers attempted to get clients and

applicants to file grievances on Baker. Each allegation lacks actual evidentiary support and cannot

save Baker’s hostile work environment claim from summary judgment. See Jones v. Gulf Coast

Restaurant Grp., Inc., 8 F. 4th 363, 368 (5th Cir. 2021) (quoting Turner v. Baylor Richardson

Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007)) (“[A] party cannot defeat summary judgment with

‘conclusory allegations, unsubstantiated assertions, or only a scintilla of evidence.’”).

        Because Baker has failed to present evidence from which a reasonable jury could conclude

that her co-workers’ conduct was sufficiently severe or pervasive to affect a term, condition, or

privilege of her employment, Baker has failed to establish a prima facie case for a hostile work

environment and Lone Star is entitled to summary judgment on this claim.




                                                   17
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 18 of 21




                   3. Baker has failed to present a prima facie case of Title VII race
                      discrimination.

       Baker has not produced direct evidence showing that her termination was motivated by

race. In the absence of direct evidence of discrimination, to establish a prima facie case of race

discrimination, Baker must show she: “(1) is a member of a protected group; (2) was qualified for

the position at issue; (3) was discharged or suffered some adverse employment action by the

employer; and (4) was replaced by someone outside [her] protected group or was less treated less

favorably than other similarly situated employees outside the protected group.” Stroy v. Gibson,

896 F.3d 693, 698 (5th Cir. 2018).

       Lone Star does not dispute that Baker is a member of a protected group, was qualified for

the paralegal position, and was discharged on January 31, 2019. However, Lone Star argues that

the uncontested summary judgment evidence demonstrates that Baker cannot meet the fourth

element of a prima facie case of racial discrimination under Title VII. Baker has put forth no

evidence, direct or circumstantial, to show that she was replaced by someone outside her protected

group or that she was treated less favorably than other similarly situated employees outside her

protected group. Indeed, Baker’s response does not even address her Title VII race discrimination

claim. Having failed to put forth any evidence to show that she was replaced by someone outside

her protected group or was treated less favorably than other similarly situated employees outside

her protected group, Baker has failed to meet her burden to make a prima facie case of race

discrimination. Lone Star is entitled to summary judgment on this claim.

                   4. Baker has not produced evidence showing Lone Star’s proffered reason
                      for her termination is a pretext.

       To make out a prima facie case of retaliation, a plaintiff must demonstrate (1) she engaged

in activity protected by Title VII; (2) the employer took an adverse employment action against her;



                                                18
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 19 of 21




and (3) there is a causal connection between the protected activity and the adverse employment

action. Aryain v. Wal-Mart Stores LP, 534 F.3d 473, 484 (5th Cir. 2008). “An employee has

engaged in protected activity when he or she has . . . made a charge, testified, assisted, or

participated in any manner in an investigation, proceeding, or hearing” under Title VII. Id. at 484

n.8 (quoting 42 U.S.C. 2000e-3(a)). For purposes of a Title VII retaliation claim, an adverse

employment action is an action that could dissuade a reasonable worker from making or supporting

a charge of discrimination. Burlington Northern & Santa Fe Railway Co. v. White, 126 S. Ct.

2405, 2409 (2006).

       If a plaintiff meets this prima facie burden, a presumption of retaliation arises, shifting the

burden of production to the employer to articulate a legitimate, nondiscriminatory reason for its

employment action. Hernandez v. Metro. Transit Auth. of Harris Cty., 673 F. App'x 414, 417 (5th

Cir. 2016). If the employer states a legitimate reason for its action, the inference of discrimination

or retaliation disappears, and the burden shifts back to the plaintiff to present evidence that the

employer’s proffered reason is merely pretextual. Id. “In contrast to the minimal burden that a

plaintiff bears when establishing his prima facie case, a plaintiff must produce ‘substantial

evidence of pretext.’” Hernandez, 673 F. App'x at 419 (quoting Auguster v. Vermilion Par. Sch.

Bd., 249 F.3d 400, 402–03 (5th Cir. 2001)).

       Lone Star argues that even if Baker could establish a prima facie case for retaliation under

Title VII, it had a legitimate, nondiscriminatory reason for terminating Baker because the grant

that provided funding her position expired on December 31, 2018 and no other funding source

available. Lone Star has presented testimony via sworn declaration that Baker was employed

pursuant to a temporary worker agreement that was funded by a grant. ECF No. 68-1 at 42-55.

After the grant funding expired in December 2018, Lone Star and Baker entered into a final month-



                                                 19
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 20 of 21




long agreement for the month of January 2019 because Lone Star did not want to terminate Baker

during the holidays. Id. at 6-7 ¶ 9. The January 2019 Temporary Agreement, dated December 21,

2018 provided that Baker’s temporary employment would terminate on January 31, 2019 and was

signed by Baker on December 26, 2018—a day before she engaged in protected conduct by filing

an internal complaint. ECF No. 68-1 at 55; 17:12-23. Baker cannot show a causal connection

between the protected activity and her termination because before she made the internal complaint

she had been told, and signed an agreement stating, that her employment would end on January

31, 2019.

       To the extent Baker argues she suffered an adverse employment action because Lone Star

failed to re-hire her after she filed her complaint, Baker has put forth no evidence demonstrating

that she applied for a position after her contract terminated on January 31, 2019. See Okpala v.

City of Houston, 397 F. App’x 50, 56 (5th Cir. 2010) (finding that plaintiff failed to make a prima

facie case for retaliation where plaintiff failed to produce evidence that he applied for positions for

which he was qualified and for which he was not hired). Furthermore, Baker has produced no

evidence, much less substantial evidence, showing Lone Star’s proffered reason for her

termination and failure to be rehired is pretext.

       Baker argues in her Response that in November 2018, a month after she made complaints

about “office dynamics,” she was moved into isolation. ECF No. 88 at 17-18. This allegation

fails to survive summary judgment for two reasons.             First, under Title VII’s exhaustion

requirements, “no issue will be the subject of a civil action until the EEOC has first had the

opportunity to attempt to obtain voluntary compliance.” Pachecho v. Menta, 448 F.3d 783, 789

(5th Cir. 2006). Whether a plaintiff has exhausted a Title VII claim is determined “not solely by

the scope of the administrative charge itself, but by the scope of the EEOC investigation ‘ which



                                                    20
    Case 4:20-cv-03870 Document 93 Filed on 07/21/22 in TXSD Page 21 of 21




can reasonably be expected to grow out of the charge of discrimination.’” Id. (quoting Sanchez v.

Standard Brands, Inc., 431 F.2d 455, 463 (5th Cir. 1970)). “Thus, ‘a Title VII lawsuit may include

allegations like or related to the allegation[s] contained in the [EEOC] charge and growing out of

such allegations during the pendency of the case before the [EEOC].’” Stingley v. Watson Quality

Ford, Jackson, MS, 836 Fed. App'x 286, 291 (5th Cir. 2020) (quoting McClain v. Lufkin, Indus.,

Inc., 519 F.3d 264, 272-73 (5th Cir. 2008)). Baker did not include this allegation in her 2019

Inquiry. ECF No. 68-1 at 75-78. Nor does Baker present any evidence by which the Court could

find that complaint made in November 2018 was within the scope of the EEOC investigation. As

such, Baker failed to exhaust this claim. Moreover, Baker’s conclusory allegations include no

supporting evidence to support these claims, a requirement to survive summary judgment. Ragas

v. Tenn. Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998) (“[U]nsubstantiated assertions are

not competent summary judgment evidence.”). Accordingly, Lone Star is entitled to summary

judgment on Baker’s retaliation claim.

    V.      Conclusion

         For the reasons discussed above, the Court GRANTS Defendant’s Motion for Summary

Judgment (ECF No. 68). Final judgment is entered by separate order.




Signed on July 21, 2022 at Houston, Texas.


                                                    Christina A. Bryan
                                                    United States Magistrate Judge




                                               21
